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                EXHIBIT 32
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 1                          MICROSOFT 200406 - 200606
 2                         IRS EXAMINATION INTERVIEWS
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 8              Examination of ALLISON WATSON, taken on
 9              behalf of IRS, at 3301 157th Avenue NE,
10              Building 11, Redmond, Washington, 98052,
11              beginning at 3:01 p.m. and ending at
12              5:57 p.m., on September 24, 2014, before
13              LAURENE KELLY, Certified Court Reporter
14              No. 2835, CRR, RDR, CCP.
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25   JOB No. 140924LKE(B)
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 1                                      I N D E X
 2                                     EXAMINATION
 3
 4    ALLISON WATSON                                               PAGE
 5    BY MR. RATCHFORD                                               7
 6
 7
 8                                        EXHIBITS
 9    NO.     DESCRIPTION                                          PAGE
10    31 A    Memorandum dated April 25, 2005                       60
11    84      LinkedIn printout                                      9
12    90      eWEEK printout                                        35
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 1              Redmond, Washington; September 24, 2014

 2                         3:01 p.m. -     5:57 p.m.

 3

 4                               ALLISON WATSON,

 5     having been first duly sworn, was examined and testified
 6     as follows:

 7
 8                 MR. RATCHFORD:     Please identify yourselves for

 9     the record.
10                 I'm Robert Ratchford on behalf of the
11     Commissioner.
12                 MR. HAXTHAUSEN:     Ove Haxthausen.
13                 MR. HOORY:    Eli Hoory with IRS.
14                 MR. KUSNETZKY:     Dan Kusnetzky, Kusnetzky
15     Group.

16                 MR. GORDON:    John Gordon, Quinn Emanuel, for
17     the IRS.

18                 MR. ROSEN:    Daniel Rosen, Baker & McKenzie.

19                 MR. RAHIM:    Salim Rahim, Baker & McKenzie.

20                 THE WITNESS:     Allison Watson, Microsoft.
21                 MR. O'BRIEN:     Jim O'Brien, Baker McKenzie.
22                 MS. VLAHOVICH:     Molly Vlahovich, Microsoft.

23                 MS. OLDAK:    Mireille Oldak, Baker & McKenzie.

24                 MR. TAYLOR:    Phil Taylor, Baker McKenzie.

25                 MR. BERNARD:     Mike Bernard with Microsoft.
                                                                       6

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 1                 MS. XU:    Yu Cindy Xu, IRS.

 2                 MR. CHOI:    Walter Choi, IRS.

 3                 MR. LaVASSAR:     Daniel LaVassar, IRS.

 4                 MR. YEE:    Davis Yee for respondent IRS.

 5                 MR. RATCHFORD:     Did you swear the witness?
 6                 THE COURT REPORTER:      Yes, I did.

 7                        (Discussion held off the record.)
 8                 THE WITNESS:     I swore.

 9                                    EXAMINATION
10     BY MR. RATCHFORD:
11           Q.    Good afternoon.     Have you ever given sworn
12     testimony before?
13           A.    No.
14           Q.    Okay.   A few ground rules:       She's taking down
15     your testimony, and a lot of times and especially in a

16     conversation, we're sitting across the table, it's very
17     easy to nod your head, but it's not picked up or may not

18     be picked up on the transcript, so, if you could just

19     answer orally.

20           A.    Okay.
21           Q.    If you don't understand a question, please ask
22     me to rephrase it or restate it.         Is that fair?      If you

23     don't understand what I'm asking.

24           A.    Yes.

25           Q.    Okay.   If you answer the question and don't
                                                                            7

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